                Case 24-41618
 Fill in this information to identify the Doc
                                          case: 1       Filed 07/12/24 Entered 07/12/24 14:31:01                              Desc Main
                                                          Document     Page 1 of 22
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Eastern District of Texas        (State)



                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Oryx  Oilfield Services, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Oryx  I&E, LLC
                                           ______________________________________________________________________________________________________
      in the last 8 years                  Oryx  Services
                                           ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               4000 N White Chapel Blvd                                 _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Southlake                   TX      76092-2069
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Denton County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.oryx-us.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                Oryx Oilfield Services, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            3329
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12


9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a                      Oryx Oilfield Holdings, LLC                                 Affiliate
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Eastern District of Texas
                                                   District _____________________________________________ When                07/12/2024
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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               Oryx Oilfield Services, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999
                                           ✔




                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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             Oryx Oilfield Services, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million
                                                                                 ✔
                                                                                                                        $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            07/12/2024
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Matthew J. Mahone
                                             _____________________________________________               Matthew J. Mahone
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Managing Member
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Frank Wright
                                             _____________________________________________              Date         07/12/2024
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Frank Wright
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Law Offices of Frank J. Wright, PLLC
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1800 Valley View Lane 250
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Farmers Branch
                                             ____________________________________________________             TX            75234
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              214-238-4153
                                             ____________________________________                              frank@fjwright.law
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              22028800                                                        TX
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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               Oryx Oilfield Services, LLC
                                                          Document     Page 5 of 22
 Debtor                                                                 _                  Case number (if known)
              First Name      Middle Name       Last Name



                                                     Continuation Sheet for Official Form 201

10) Pending Bankruptcies

Kodiak Excavation                    Eastern District               07/12/2024
& Utilities, LLC                     of Texas

Kodiak Trenching &                   Eastern District               07/12/2024
Boring, LLC                          of Texas




   Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy
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      Fill in this information to identify the case:

                    Oryx Oilfield Services, LLC
      Debtor name __________________________________________________________________

                                              Eastern District of Texas
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if    Deduction for     Unsecured
                                                                                                               partially          value of          claim
                                                                                                               secured            collateral or
                                                                                                                                  setoff
     Bank OZK                                                           Monies Loaned /
1    PO Box 8811                                                        Advanced
                                                                                                                                                   1,098,556.03
     Little Rock, AR, 72231


     State of New Mexico                                                Taxes & Other
2    1200 South St. Francis Drive                                       Government Units
     Santa Fe, NM, 87505
                                                                                                                                                   1,000,000.00


     Accel Fusion                                                       Suppliers or Vendors
3    2821 E PEARL ST
                                                                                                                                                   393,696.00
     ODESSA, TX, 79761


     Stonemark, Inc.                                                    Monies Loaned /
4    8501 WADE BLVD                                                     Advanced
     SUITE 620                                                                                                                                     260,611.53
     FRISCO, TX, 75034


     Danco Enterprise Inc.                                              Suppliers or Vendors
5    215 W. BROADWAY
     STE 2                                                                                                                                         242,583.79
     HOBBS, NM, 88240

     MD Energy Services LLC                                             Suppliers or Vendors    Disputed
6    PO BOX 2980
                                                                                                                                                   221,365.00
     WEATHERFORD, TX, 76086


     BPW Law Firm                                                       Services                Disputed
7    105 N STATE STREET
     SUITE 105B                                                                                                                                    201,519.61
     DECATUR, TX, 76234

     LeBoeuf Law, PLLC                                                  Services
8    325 N.ST.PAUL ST
     SUITE 3400                                                                                                                                    194,623.75
     DALLAS, TX, 75201




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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                   Oryx Oilfield Services, LLC
    Debtor        _______________________________________________________                     Case number (if known)_____________________________________
                  Name




     Name of creditor and complete          Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code    and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                            creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                         professional        unliquidated, total claim amount and deduction for value of
                                                                         services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                              Total claim, if    Deduction for     Unsecured
                                                                                                              partially          value of          claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff
     United Health Care                                                Services                Disputed
9    PO BOX 94017
                                                                                                                                                  186,953.81
     PALATINE, IL, 60094

     Katella Logistics,LLC                                             Suppliers or Vendors
10 P.O. BOX 5278
                                                                                                                                                  155,074.84
     MIDLAND, TX, 79704


     Deepwell Energy                                                   Suppliers or Vendors    Disputed
11 PO BOX 1000
     DEPT #0944                                                                                                                                   154,595.39
     MEMPHIS, TN, 38148

     Komatsu Southwest                                                 Monies Loaned /         Disputed
12 PO BOX 842326                                                       Advanced
                                                                                                                                                  150,994.83
     DALLAS, TX, 75284


     Doggett Heavy Machinery                                           Suppliers or Vendors    Disputed
13 10110 DARADALE AVE.
                                                                                                                                                  146,745.27
     BATON ROUGE, LA, 70816

     NewCo Capital Group LLC                                           Monies Loaned /         Disputed
14 1801 NE 123RD ST                                                    Advanced
     #421                                                                                                                                         146,265.00
     NORTH MIAMI, FL, 33181

     Pipe Movers, Inc.
15 6385 Hwy 87 E
     San Antonio, TX, 78222
                                                                                                                                                  133,158.95


     HH Restoration, Inc.                                              Suppliers or Vendors
16 c/o Keith Hampton, 3319 Thorn Hill Dr.
     Arlington, TX, 76001                                                                                                                         119,000.00


     RCS - Goliad Oryx                                                 Lease
17 371 CENTENNIAL PARKWAY
     LOUISVILLE, CO, 80027                                                                                                                        108,771.51


     Premier Trenching,LLC                                             Suppliers or Vendors    Disputed
18 7814 MILLER RD 3
                                                                                                                                                  104,503.50
     HOUSTON, TX, 77049

     NCMIC Finance Corporation                                         Monies Loaned /
19 P.O. BOX 9118                                                       Advanced

     DES MOINES, IA, 50306                                                                                                                        95,609.55


     LocusView Solutions Inc                                           Suppliers or Vendors
20 P.O. BOX 74008871
                                                                                                                                                  85,598.10
     CHICAGO, IL, 60674




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 2
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4 D Excavating, Inc.                                Aflac
P.O.BOX 7057                                        PO BOX 673025
ODESSA, TX 79760                                    DALLAS, TX 75267


5-D Ranch Water Sales                               Agave Transport
1800 FM 237                                         1200 W. DERRICK RD.
YORKTOWN, TX 78164                                  CARLSBAD, NM 88220


Abel , Jaquez Meza                                  AGL Trucking
141 N De Costa St                                   11345 LAYLA LN
Fort Worth                                          ODESSA, TX 79764
TX, WY

                                                    Air Compressor Solutions
Abraham , Alejos                                    3001 KERMIT HWY
6552 Jerrell St                                     ODESSA, TX 79764
North Richland Hills
TX, WY
                                                    Alejandro , Aguirre
                                                    6215 N. Fowler St. Hobbs
Abraham , Estrada                                   NM 88242
3828 Lawnwood St
Fort Worth
TX, WY                                              Alejos, Salvador
                                                    6552 Jerrell St
                                                    North Richland Hills
ABY Benefits LLC                                    TX, WY
PO BOX 867599
PLANO, TX 75086
                                                    Alejos, Salvadore
                                                    6552 Jerrell St
Accel Fusion                                        North Richland Hills
2821 E PEARL ST                                     TX, WY
ODESSA, TX 79761

                                                    Alonso , Gastelum
Accelerated Water Resources, LLC                    401 N Cedar St
3300 N. A STREET                                    Kermit
BLDG 1, STE. 220                                    TX, WY
MIDLAND, TX 79705

                                                    Alpha Dog Testing, LLC
Adam , Parker                                       1095 PRIVATE ROAD 1012
2100 Bradford Ct                                    GIDDINGS, TX 78942
Midland
TX, WY
                                                    Amanda , Ylitalo
                                                    12536 Planters Glen Dr
Advanced Equipment Rental                           Dallas
4708 S CR 1140                                      TX, WY
MIDLAND, TX 79706

                                                    Amanda, Ylitalo
Aetna Life Insurance Company                        12536 Planters Glen Dr
PO BOX 67103                                        Dallas
HARRISBURG, PA 17106                                TX, WY
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Andres , Reyes                                        ATWELL LLC
218 S Cherry St                                       311 NORTH MAIN
Pecos                                                 ANN ARBOR, MI 48104
TX, WY

                                                      Authorized Inspection Associates, LLC
Angel , Carrasco                                      14531 FM 529
432 N. Ash St. Kermit                                 SUITE 135
TX 79745                                              HOUSTON, TX 77095


Antonio , Huerta                                      AXE Directional Drilling
4458 S FM 730                                         PO BOX 8968
Decatur                                               SPRING, TX 77387
TX, WY

                                                      Axiom Medical Consulting, LLC
Antonio , Vazquez Guzman                              PO BOX 207282
1211 N Llano Dr                                       DALLAS, TX 75320
Hobbs
NM, WY
                                                      Axis Industrial Services, LLC
                                                      5104 IH 37
Apex Materials, LLC                                   CORPUS CHRISTI, TX 78407
PO BOX 1242
THREE RIVERS, TX 787071
                                                      Bank OZK
                                                      PO Box 8811
ARC Inspection Services ,LLC                          Little Rock, AR 72231
PO BOX 732951
DALLAS, TX 75373
                                                      BARCO RENT
                                                      717 SOUTH 5600 WEST
Arch Insurance                                        SALT LAKE CITY, UT 84104
c/o Corporation Service Company, 211 E.
Suite 620
Austin, TX 78701                                      BDS Enterprises
                                                      PO BOX 2286
                                                      CARLSBAD, NM 88221
Armando , Amaro
1028 E San Antonio St
Kermit                                                Beasley Tire Service
TX, WY                                                PO BOX 11556
                                                      HOUSTON, TX 77293

Armando , Garcia Baez
5031 Fitzhugh Ave                                     Benjamin , Mier Jr.
Fort Worth                                            2401 Clinton Ave
TX, WY                                                Fort Worth
                                                      TX, WY

Arturo , Castillo
5812 Bonanza Dr Trlr 108                              Beyond Broadband Solutions Inc
Haltom City                                           102 E BROAD ST.
TX, WY                                                UNIT 1439
                                                      FORNEY, TX 75126

Associate Supply Co Inc.
PO Box 3888                                           Big Horn Supply
Lubbock, TX 79452                                     4923 W. Interstate 20
                                                      Midland, TX 79706
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Boardwalk Paving & Construction, LL                    BTH Bank
2920 INDUSTRIAL LN.                                    6657 OLD JACKSONVILLE HIGHWAY
GARLAND, TX 75041                                      TYLER, TX 75703


Bonner Kiernan Trebach & Crociata                      C & G Inc. DBS Fox Rental
1232 20TH STREET NW                                    1300 W NORTHWEST HWY
8TH FLOOR                                              GRAPEVINE, TX 76051
WASHINGTON, DC 20036

                                                       C-Arrow Water Sales ,LLC
Bottom Line Equipment,LLC                              2525 N.FM81
PO BOX 81217                                           RUNGE, TX 78212
LAFAYETTE, LA 70598

                                                       Cactus Equipment Rentals
BPW Law Firm                                           PO BOX 1273
105 N STATE STREET                                     GOLDWAITE, TX 76844
SUITE 105B
DECATUR, TX 76234
                                                       Calvert-Menicucci, PC
                                                       8805 WASHINGTON ST. NE
Brad, Boucherie                                        SUITE E
2701 Grapevine Mills Blvd N                            ALBUQUERUE, NM 87113
Grapevine
TX, WY
                                                       Candice , Quesada
                                                       6922 Cattleman Dr
Brady's Welding & Machine Shop, INC                    Midland
PO BOX 788                                             TX, WY
HEALDTON, OK 73438

                                                       Carlos , Flores Rodriguez
Braulio , Terrones                                     440 N Cedar St
1100 Oak Knoll Dr                                      Kermit
Fort Worth                                             TX, WY
TX, WY

                                                       Carlos, Flores Rodriguez
Braun Intertec Corporation                             440 N Cedar St
LOCKBOX#446035                                         Kermit
PO BOX 64384                                           TX, WY
SAINT PAUL, MN 55164

                                                       Caterpillar Financial Services
Brayan , Castillo                                      2120 WEST END AVENUE
5812 Bonanza Dr                                        NASHVILLE, TN 37203
Haltom City
TX, WY
                                                       Challenger Services
                                                       4530 S. JACKSON AVE.
Bryan , Jimenez                                        TULSA, OK 74107
696 Private Road 204D
Seminole
TX, WY                                                 Chem Can Services, LLC
                                                       16660 DALLAS PKWY
                                                       SUITE 1600
Bryan, Jimenez                                         DALLAS, TX 75248
696 Private Road 204D
Seminole
TX, WY
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Choat Enterprises,Inc                                  Danco Enterprise Inc.
3300 SHERBROOK                                         215 W. BROADWAY
ODESSA, TX 79762                                       STE 2
                                                       HOBBS, NM 88240

CHTD Company
PO BOX 2576                                            Daniel , Aragon
SPRINGFIELD, IL 62708                                  3553 Regal Rd
                                                       Fort Worth
                                                       TX, WY
Clemtex
PO BOX 15214
HOUSTON, TX 77220                                      Daniel , Aragon Rios
                                                       3553 Regal Rd
                                                       Fort Worth
Coastal Boat Srvs. Unltd.                              TX, WY
P.O. BX 161
2244 W. ADAMS AVE.(HWY 185)
PORT O'CONNOR, TX 77982                                Daniel , Juarez
                                                       204 S Locust St
                                                       Kermit
Coastal Directional Drilling, Inc.                     TX, WY
6025 HWY. 77
ODEM, TX 78370
                                                       Daniel , Lopez
                                                       3212 NW 24th St
Coastal Production Systems LLC                         Fort Worth
610 EAST MAIN STREET                                   TX, WY
BROUSSARD, LA 70518

                                                       David , Monjaras Sanchez
Cornelio , Gonzalez                                    4249 Gladewater Rd
1234 Carroll Dr                                        Dallas
Garland                                                TX, WY
TX, WY

                                                       De Lage Landen Financial Services, Inc.
CR3 Partners, LLC                                      1111 OLD EAGLE SCHOOL ROAD
13355 NOEL ROAD                                        WAYNE, PA 19087
STE 310
DALLAS, TX 75240
                                                       Deepwell Energy
                                                       PO BOX 1000
Cuatro Transportation, Inc.                            DEPT #0944
709 W KANSAN AVE                                       MEMPHIS, TN 38148
JAL, NM 88252

                                                       Diogo , Valles
Cyclone Services, LLC                                  2608 Rosen Ave
220 ADAMS SUITE 280                                    Fort Worth
BOX 105                                                TX, WY
WEATHERFORD, TX 76086

                                                       Diogo, Valles
Dakota , Purvis                                        2608 Rosen Ave
10624 FM 350 N                                         Fort Worth
Livingston                                             TX, WY
TX, WY

                                                       DistributionNow L.P.
                                                       4025 HWY. 35 N
                                                       COLUMBIA, MS 39429
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Diversified Lenders                                   Esau , Ortiz
5607 Avenue Q                                         2535 W Midwest St
Lubbock, TX 79412                                     Hobbs
                                                      NM, WY

DJ Water Sales
700 FM 99                                             EVX Eagle Ford Partners, LLC
WHITSETT, TX 78075                                    811 LOUISIANA STREET
                                                      SUITE 2500
                                                      HOUSTON, TX 77002
Doggett Heavy Machinery
10110 DARADALE AVE.
BATON ROUGE, LA 70816                                 Felix , Reyes Espinosa
                                                      245 Mazatran Ave.
                                                      Dallas
Double J Brothers                                     TX, WY
9607 MOJAVE AVE
ODESSA, TX 79765
                                                      First Insurance Funding
                                                      PO BOX 7000
EDCO fire & safety                                    CAROL STREAM, IL 60197
2401 KERMIT HWY
ODESSA, TX 79761
                                                      Flexpipe Systems LLC
                                                      5875 N SAM HOUSTON PKWY W
Eliseo , Delcid Castro                                SUITE 100
8638 Willoughby Blvd. #163                            HOUSTON, TX 77086
Dallas
TX, WY
                                                      Frac Tank Rentals, LLC
                                                      191 TAMMY DRIVE
Elite Discovery ,Inc.                                 ODESSA, TX 79766
400 N. SAINT PAUL ST.
SUITE 1300
DALLAS, TX 75201                                      Franciso , Suarez
                                                      2228 Brittain St
                                                      Fort Worth
Enrique , Diaz                                        TX, WY
5727 S Bronco Dr
Hobbs
NM, WY                                                Freddi , Cortes
                                                      2004 Loving Ave
                                                      Fort Worth
Enterprise FM Trust                                   TX, WY
PO BOX 800089
KANSAS CITY, MO 64180
                                                      Fredi , Flores
                                                      11103 Iris Dr
Equify Financial, LLC                                 Balch Springs
13600 HERITAGE PARKWAY                                TX, WY
SUITE 150
FORT WORTH, TX 76177
                                                      FUSE IT Pipe and Supply, LLC
                                                      7117 HWY 312
Ernesto , Flores Gutierrez                            BILLINGS, MT 59105
4204 Barbara Rd
Fort Worth
TX, WY                                                Gabria , Trimble
                                                      1715 Gallagher St
                                                      Dallas
                                                      TX, WY
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Gilberto , Alanis                                         Hector , De la Paz
354 Gonzalez St                                           2403 Hanna Ave
Zapata                                                    Fort Worth
TX, WY                                                    TX, WY


Global Machinery                                          HH Restoration, Inc.
705 WEST 62ND AVENUE                                      c/o Keith Hampton, 3319 Thorn Hill Dr.
DENVER, CO 80216                                          Arlington, TX 76001


Gorilla Coating LLC                                       HireRight, LLC.
121 N LEECH ST                                            PO BOX 847891
HOBBS, NM 88240                                           DALLAS, TX 75284


Grady Bell LLP                                            Holt Cat
44 WEST JACKSON BOULEVARD                                 2000 E AIRPORT FREEWAY
SUITE 1250                                                IRVING, TX 75062
CHICAGO, IL 60604

                                                          Hugo , Cereceres
Grape Office, LLC                                         234 Coney St
c/o Deitch Law Offices, 800 Rio Grande                    San Antonio
Austin, TX 78701                                          TX, WY


Gulf Coast Grouting, Inc.                                 Hugo , Gonzalez
c/o Richard L Carter, 18902 Jodywood                      2236 Robinwood Dr
Humble, TX 77346                                          Fort Worth
                                                          TX, WY

Gustavo , Salgado
PO Box 1892                                               Industrial Hose and Oilfield Supply
Pecos                                                     2403 25TH STREET
TX, WY                                                    HWY 180
                                                          SNYDER, TX 79549

Handy Rental, Inc.
706 N MAIN                                                Industrial Training Services, Inc.
SEMINOLE, TX 79360                                        114 MAX HURT DR.
                                                          MURRAY, KY 42071

Harrell Pailet & Associates Trust A
5454 LA SIERRA DR.                                        Internal Revenue Service
STE 100                                                   PO BOX 145595
DALLAS, TX 75231                                          MC 8420G
                                                          CINCINNATI, OH 45250

Hatcher Water Well Service LLC
PO BOX 1461                                               Internal Revenue Service
BEEVILLE, TX 78104                                        PO Box 7346
                                                          Philadelphia, PA 19101

Hazel`s Expedited Freght
PO BOX 810239                                             Intrepid Potash, Inc.
DALLAS, TX 75381                                          996 17TH STREET
                                                          SUITE 1050
                                                          DENVER, CO 80202
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ISCO INDUSTRIES                                      JMG Services
1974 SOLUTIONS CENTER                                PO BOX 3933
CHICAGO, IL 60677                                    HOBBS, NM 88241


Ismael , Castillo Alvare                             JML Management, Inc.
5812 Bonanza Dr Trlr 102                             748 STATE HWY. 7 W
Haltom City                                          CENTER, TX 75935
TX, WY

                                                     Joe's Rentals
Izabela , Amaro                                      889 S. DERBY ST.
1028 E San Antonio St                                ARVIN, CA 93203
Kermit
TX, WY
                                                     Joel , Ibarra
                                                     318 E Avenue R Trlr G
J & J Farms Water Station                            Lovington
5110 OLD CAVERN HWY.                                 NM, WY
CARLSBAD, NM 88220

                                                     John Deere Construction & Forestry Company
Jacinto , Vasquez                                    6400 NW 86TH ST
309 W Vista Dr                                       PO BOX 6600
Garland                                              JOHNSON, IA 50131
TX, WY

                                                     John Deere Financial
Jaime , Medrano Gallardo                             PO BOX 650215
723 N Mulberry St                                    DALLAS, TX 75265
Kermit
TX, WY
                                                     Jorge , Barron Hernandez
                                                     2403 Hanna Ave
Jared , Cruz                                         Fort Worth
6417 NW Main St. Hobbs                               TX, WY
NM 88240

                                                     Jorge , Terrones
Javier , Juarez                                      4905 Walthall St
415 S Tornillo St                                    Haltom City
Kermit                                               TX, WY
TX, WY

                                                     Jose , Alonso Rios
Javier , Reyes Sr.                                   4006 Ivey St
622 N Mulberry St                                    Haltom City
Kermit                                               TX, WY
TX, WY

                                                     Jose , Carrola Simental
Jesus , Flores Acosta                                1211 N. Llano Dr. Hobbs
320 Douglas St                                       NM 88240
Hereford
TX, WY
                                                     Jose , Carrola Simental
                                                     1211 N Llano Dr
Jesus , Quintana Morales                             Hobbs
622 N Mulberry St                                    NM, WY
Kermit
TX, WY
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Jose , Diego                                         Jose, Reyes
105 E 6th                                            309 N Main St
Nordheim                                             Kermit
TX, WY                                               TX, WY


Jose , Gutierrez Vergara                             Jose, Salvador Dominguez
1721 Oakwood St                                      2300 Juniper St
Haltom City                                          Haltom City
TX, WY                                               TX, WY


Jose , Hernandez                                     Juan , Carlos Aguilar
5900 E County Road 120                               112 E Wolfcamp Dr
Midland                                              Hobbs
TX, WY                                               NM, WY


Jose , Jasso Hernandez                               Juan , De Dios Barraza
3311 Kellogg Ave                                     900 E Highway 115
Dallas                                               Kermit
TX, WY                                               TX, WY


Jose , Matehuala Balleza                             Juan , Flores Jr
1321 E Hamby Ave                                     3282 Fletcher Rd
Midland                                              Eagle Pass
TX, WY                                               TX, WY


Jose , Reyes                                         Kailyn , Adams
309 N Main St                                        1100 Lake Carolyn Pkwy Apt 5010
Kermit                                               Irving
TX, WY                                               TX, WY


Jose , Saenz Olivas                                  Karnes Electric Cooperative, Inc.
900 E Highway 115                                    PO Box 7
Kermit                                               Karnes City, TX 78118
TX, WY

                                                     Katella Logistics,LLC
Jose , Salvador Dominguez                            P.O. BOX 5278
2300 Juniper St                                      MIDLAND, TX 79704
Haltom City
TX, WY
                                                     Keep Truckin, Inc.
                                                     25 HAZELWOOD DR.
Jose , Soria Jr.                                     STE 114
411 Fairview St                                      AMHERST, NY 14228
Fort Worth
TX, WY
                                                     Kodiak Mechanical Services, LLC
                                                     4000 N. White Chapel
Jose , Tapia                                         Southlake, TX 76092
1605 Barron Ln
Fort Worth
TX, WY                                               Komatsu Financial Limited Partnership
                                                     1701 GOLF RD
                                                     STE 1-300
                                                     ROLLING MEADOWS, IL 60008
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Komatsu Southwest                                     LocusView Solutions Inc
PO BOX 842326                                         P.O. BOX 74008871
DALLAS, TX 75284                                      CHICAGO, IL 60674


Landmark Coatings, LLC                                Lorenzo , Pacheco
3200 Commander                                        2357 Peak St
Suite 108                                             Fort Worth
Carrollton, TX 75006                                  TX, WY


Laurie & Brennan, LLP                                 Luciano , Aldaba Hernand
TWO NORTH RIVERSIDE PLAZA                             2905 NW 29th St
SUITE 175                                             Fort Worth
CHICAGO, IL 60606                                     TX, WY


LeBoeuf Law, PLLC                                     Luciano , Aldaba Hernandez
325 N.ST.PAUL ST                                      2905 NW 29th St
SUITE 3400                                            Fort Worth
DALLAS, TX 75201                                      TX, WY


Leonel , Quintana                                     Luis , Arvizu
4458 S FM 730                                         10622 Grove Oaks Blvd
Decatur                                               Dallas
TX, WY                                                TX, WY


Leonel, Quintana                                      Luis , Oropeza Jimenez
4458 S FM 730                                         1208 Altamont Dr
Decatur                                               Fort Worth
TX, WY                                                TX, WY


Leonzo , Anaya Gutierrez                              Luis , Sanchez Segura
1514 E Skelly St                                      245 Mazatlan Ave
Hobbs                                                 Dallas
NM, WY                                                TX, WY


Levi , Lewis                                          Luis , Terrones
608 N Frobese                                         3624 Layton Ave
Runge                                                 Haltom City
TX, WY                                                TX, WY


Librado , Lopez                                       M & M Truck Center, Inc.
603 S 5th St                                          PO BOX 872
Garland                                               KERMIT, TX 79745
TX, WY

                                                      Mack Financial Services
Limitless Energy                                      8003 Piedmont Triad Pkwy
PO BOX 61674                                          Greensboro, NC 27409
Midland, TX 79711

                                                      Manuel , Garcia Armendar
Linde Gas & Equipment Inc.                            2009 David Dr
DEPT 0812                                             Fort Worth
PO BOX 120812                                         TX, WY
DALLAS, TX 75312
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Manuel , Garcia Armendariz                            Miguel , Gallegos Barron
2009 David Dr                                         2305 Wallace St
Fort Worth                                            Fort Worth
TX, WY                                                TX, WY


Marek Field Services, LLC                             Miguel , Hinojosa Mejia
PO BOX 1085                                           308 S Morris St
GOLIAD, TX 77963                                      Hobbs
                                                      NM, WY

Marquette Commercial Finance, a Division of M
1600 WEST 82ND STREET                                 Miguel , Jasso Hernandez
SUITE 250                                             3311 Kellogg Ave
BLOOMINGTON, MN 55341                                 Dallas
                                                      TX, WY

Matthew , Ismert
3612 Greenbriar Ct                                    Miguel, Gallegos Barron
Colleyville                                           2305 Wallace St
TX, WY                                                Fort Worth
                                                      TX, WY

Matthew , Turner
210 S Peach St                                        MPS Enterprises Inc. d/b/a Milford
Ore City                                              7607 W. Industrial Ave.
TX, WY                                                Midland, TX 79706


Mauro , Torres Castaneda                              MUSTANG RENTALS
1108 Saint Edwards St                                 12800 NORTHWEST FREEWAY
River Oaks                                            HOUSTON, TX 77040
TX, WY

                                                      MW Rentals & Services, Inc
Maximiliano , Castillo                                4002 US HWY 59 N
28779 Line 26 Rd.San Benito                           VICTORIA, TX 77905
TX 78586

                                                      NCMIC Finance Corporation
Maximiliano , Villa Juarez                            P.O. BOX 9118
308 S Morris St                                       DES MOINES, IA 50306
Hobbs
NM, WY
                                                      New Tex Trucking
                                                      PO BOX 64237
MD Energy Services LLC                                LUBBOCK, TX 79464
PO BOX 2980
WEATHERFORD, TX 76086
                                                      NewCo Capital Group LLC
                                                      1801 NE 123RD ST
MDS TRUCKING,LLC                                      NORTH MIAMI, FL 33181
PO BOX 1213
KERMIT, TX 79745
                                                      Norberto , Aragones Fria
                                                      1753 Fagan Dr
MEC SERVICES                                          Blue Mound
552 W MERMOD ST#721                                   TX, WY
CARLSBAD, NM 88220
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Northern Basin Coating, LLC                         PB Materials
2041 West State Road                                P.O BOX 14168
Levelland, TX 79336                                 ODESSA, TX 79768


Northern Panhandle Seeding, Inc.                    Peter , Gruber
12950 FM 760                                        10500 Matador Dr
SPEARMAN, TX 79081                                  McKinney
                                                    TX, WY

NOV Tuboscope
PO BOX 201177                                       Pettigrew & Associates, P.A.
DALLAS, TX 75230                                    98 E. NAVAJO DRIVE
                                                    SUITE 100
                                                    HOBBS, NM 88240
Office of the US Trustee
110 N. College Ave.
Suite 300                                           Pipe Movers, Inc.
Tyler, TX 75702                                     6385 Hwy 87 E
                                                    San Antonio, TX 78222

OFFICE SYSTEMS
2102 N LAURENT STREET                               PNC Equipment Finance, LLC
VICTORIA, TX 77901                                  665 BUSINESS CENTER DRIVE
                                                    SUITE 250
                                                    HORSHAM, PA 19044
Oklahoma Tax Commission
Oklahoma City, OK 73194
                                                    PPG PROTECTIVE & MARINE CTGS
                                                    PO BOX 842409
Omar , Cruz                                         BOSTON, MA 2284
6710 Elk Trl
Arlington
TX, WY                                              Precision NDT
                                                    4008 N. GRIMES ST.
                                                    PMB 242
Omar , Medrano Gallardo                             HOBBS, NM 88240
411 S Locust St
Kermit
TX, WY                                              Precision NDT, LLC.
                                                    4008 N. GRIMES ST.
                                                    PMB 242
Origami Capital                                     HOBBS, NM 88240
191 NORTH WACKER DR.
STE 2350
CHICAGO, IL 60606                                   Premier Trenching,LLC
                                                    7814 MILLER RD 3
                                                    HOUSTON, TX 77049
Paul , Auvil
909 S Texas St
De Leon                                             PRIMARY FREIGHT,LLC
TX, WY                                              PO BOX 163
                                                    BRILLION, WI 54110

Paul, McCoy
8702 County Road 3408                               Pro Field Services, INC.
Chandler                                            P.O. BOX 525
TX, WY                                              HALLETTSVILLE, TX 77964
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Professional Testing                                  Ricardo , Cardenas
2236 CAPITAL CIRCLE                                   1313 Harrison Dr
NE                                                    Kermit
TALLAHASSEE, FL 32308                                 TX, WY


Quality Copiers Sales & Service                       Richard , Ramirez Jr.
4013 BULLOCK DR.                                      203 E. Ojo de Agua
PLANO, TX 75023                                       Runge
                                                      TX, WY

Ramey & Flock
100 EAST FERGUSON                                     Robert , Barwick
SUITE 404                                             2081 Belsford Dr
TYLER, TX 75702                                       Nolensville
                                                      TN, WY

Rapid Transport, Ltd.
P.O. DRAWER L                                         Robert, Barwick
KERMIT, TX 79745                                      2081 Belsford Dr
                                                      Nolensville
                                                      TN, WY
Raul , Garcia
6125 N Fowler St
Hobbs                                                 Roberto , Aguirre Portillo
NM, WY                                                112 N. Eastern St. Hobbs
                                                      NM 88240

RCS - Goliad Oryx
371 CENTENNIAL PARKWAY                                Roberto , Morales Angele
LOUISVILLE, CO 80027                                  611 S Main St
                                                      Grapevine
                                                      TX, WY
RCS - Kermit Oryx
371 CENTENNIAL PARKWAY
LOUISVILLE, CO 80027                                  Roberto , Morales Angeles
                                                      611 S Main St
                                                      Grapevine
ReachNett Consulting, Inc.                            TX, WY
3620 N. JOSEY LANE
SUITE 113
CARROLLTON, TX 75007                                  Roberto , Oceguera Preciado
                                                      4124 Avenue J
                                                      Fort Worth
Real Capital Solutions                                TX, WY
371 Centennial Parkway
Suite 200
Louisville, CO 80027                                  Rodeway Inn
                                                      3820 NATIONAL PARKS HIGHWAY
                                                      CARLSBAD, NM 88220
Rene , Lopez
3216 NW 24th St
Fort Worth                                            Rogelio , Guerrero
TX, WY                                                5604 Libbey Ave
                                                      Fort Worth
                                                      TX, WY
Rhino Fleet Tracking
7201 E. HENKEL WAY
SUITE 400                                             Safety Culture / Workplace Health &
SCOTTSDALE, AZ 85255                                  2114 CENTRAL ST.
                                                      6TH FLOOR
                                                      KANSAS CITY, MO 64108
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Samuel , Espinosa Sanchez                           Star Services, LLC
4813 S. Gill Rd. Lovington                          8518 Startem Road
NM 88260                                            Hobbs, NM 88240


San Christoval Water LLC                            State of Alabama
1915 E. 70TH STREET                                 50 N. Ripley St.
SHREVEPORT, LA 71105                                Montgomery, AL 36130


Saul , Alejos                                       State of New Mexico
6552 Jerrell St                                     1200 South St. Francis Drive
North Richland Hills                                Santa Fe, NM 87505
TX, WY

                                                    State Rentals
Sebastian , Medellin                                PO Box 1539
1112 Parsons Ln                                     Midland, TX 79702
Fort Worth
TX, WY
                                                    Sterling Crane LLC
                                                    9351 GRANT STREET
Shannon Galvanized, LLC                             SUITE 250
PO BOX 610                                          THORNTON, CO 80229
FLORESVILLE, TX 78114

                                                    Steven , Salazar
Sherry , Boktor                                     532 Greenway Dr
6521 Alta Vista Dr                                  Saginaw
Watauga                                             TX, WY
TX, WY

                                                    Stonemark, Inc.
SHERWIN WILLIAMS                                    8501 WADE BLVD
11226 LEO LANE                                      SUITE 620
DALLAS, TX 75229                                    FRISCO, TX 75034


Siemens Financial Services, Inc.                    T&C Rentals
170 WOOD AVENUE SOUTH                               PO BOX 1688
ISELIN, NJ 8830                                     TOMBALL, TX 77377


Simmons Bank                                        Tanmar Rentals
PO BOX 7009                                         PO BOX 1376
PINE BLUFF, AR 71611                                EUNICE, LA 70535


SQS NDT                                             Tarrant County
PO BOX 13977                                        c/o Laurie Spindler, 2777 N Stemmons Fwy
ODESSA, TX 79768                                    Dallas, TX 75207


Staples                                             Team Industrial Services, Inc.
PO BOX 660409                                       P.O.BOX 842233
DALLAS, TX 75266                                    DALLAS, TX 75284


STAR SERVICES, LLC                                  TechCorr USA Management, LLC
8518 STARTEM RD                                     1485 E. SAM HOUSTON PKWY SOUTH
HOBBS, NM 88240                                     SUITE 160
                                                    PASADENA, TX 77503
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Texas Comptroller of Public Accounts                    U.S. Department of Labor, Wage and Hour Divis
111 E. 17th St                                          525 S. Griffin
Austin, TX 78774                                        Suite 707
                                                        Dallas, TX 75202

Texas Mutual Insurance Company
2200 ALDRICH ST.                                        U.S. Small Business Administration
AUSTIN, TX 78723                                        409 3rd St. SW
                                                        Washington, DC 20416

Texas State Rentals
803 SE LOOP 410                                         United Health Care
SAN ANTONIO, TX 78220                                   PO BOX 94017
                                                        PALATINE, IL 60094

THE CARTER LAW FIRM
8350 N. CENTRAL EXPRESSWAY                              US Chaparral Water Systems, Inc.
SUITE 1225                                              PO BOX 80249
DALLAS, TX 75206                                        MIDLAND, TX 79708


Tierra Lease Services, LLC                              US Premium Finance
PO BOX 366                                              PO Box 630035
KENEDY, TX 78118                                        Cincinnati, OH 45263


Tommy , Salazar                                         Utica Leaseco, LLC
5964 Bridal Trl                                         905 SOUTH BOULEVARD EAST
Fort Worth                                              ROCHESTER HILLS, MI 48307
TX, WY

                                                        Wesley and Brenda Mahone
Top Hand Oilfield Solutions, LLC
PO BOX 610
MONAHANS, TX 79756                                      Wifco Steel Products
                                                        P.O. BOX 3500
                                                        CLAREMORE, OK 74018
Topographic Land Surveyors
1395 EVERMAN PARKWAY
STE 146                                                 Wlesky , Ramos Quintana
FORT WORTH, TX 76140                                    1741 Lawther Dr. River Oaks
                                                        TX 76114

Total Office Solution of West Texas
1588 N. LEE AVE                                         Xstreme MD
ODESSA, TX 79761                                        1028 FORUM DRIVE
                                                        BROUSSARD, LA 70518

Triple-S Steel
2042 WEST THOMPSON PLACE
SAN ANTONIO, TX 78226


Turner Seed Co.
PO BOX 791
BRECKENRIDGE, TX 76424


TXU Energy
PO Box 650638
Dallas, TX 75265
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                              United States Bankruptcy Court
                               Eastern District of Texas




         Oryx Oilfield Services, LLC
In re:                                                          Case No.

                                                                Chapter    11
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               07/12/2024                        /s/ Matthew J. Mahone
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  Managing Member
                                                 Position or relationship to debtor
